      3:17-cv-02697-RMG          Date Filed 10/05/17      Entry Number 1       Page 1 of 8




                 IN THE UNITED STATES DISTRICT COURT FOR
                        THE DISTRICT OF SOUTH CAROLINA
                               COLUMBIA DIVISION
MAKOVA MCCASKEL AS              )
PERSONAL REPRESENTATIVE )
OF THE ESTATE OF WILBUR         )
WALTER RUMPH,                   )
                                )
            Plaintiffs,         )                           3:17-cv-02697-MBS
                                     CIVIL ACTION FILE NO. _______________
                                )
v.                              )
                                )
UNITED STATES OF AMERICA, )
                                )
            Defendant.          )
                                )
______________________________)

                                         COMPLAINT

       Plaintiff Makova McCaskel, as Personal Representative of the Estate of Wilbur Walter

Rumph, allege:

       1.      This is an action arising under the Federal Tort Claims Act, 28 U.S.C. §§ 2671 et.

seq. This Court is vested with jurisdiction pursuant to 28 U.S.C. § 1346(b).

       2.      Plaintiff’s place of residence is in Richland County, South Carolina.

       3.      At all times mentioned herein, Defendant United States of America, through its

agency the Department of Veterans Affairs (the “VA”), owned and operated William Jennings

Bryan Dorn Veterans Administration Medical Center in Columbia, South Carolina (the

“Columbia VAMC”). At all times relevant to this action, the physicians and health care

professionals listed by name in this complaint were engaged in the course and scope of their

employment with Defendant.

       4.      The events or omissions giving rise to this cause of action occurred at the

Columbia VAMC in this district.



                                               -1-
        3:17-cv-02697-RMG         Date Filed 10/05/17       Entry Number 1      Page 2 of 8




          5.    Timely and adequate administrative claim notices were sent to and received by

the Office of Regional Counsel, Department of Veterans Affairs, regarding the claims made

herein.

          6.    Notice of the denial of Plaintiffs’ claims was sent to Plaintiffs on September 26,

2017.

          7.    Makova McCaskel is the duly appointed Personal Representative of the Estate of

Wilbur W. Rumph, her deceased father.

          8.    Mr. Rumph was an honorably discharged veteran of the United States.

          9.    On June 10, 2015, Mr. Wilbur W. Rumph, age 73, presented to the Columbia

VAMC with shortness of breath. Dr. Angela Castillo, a board certified physician in internal

medicine, ordered a chest film. The completed study was interpreted by Dr. Jennings G. Pressly,

Chief of Radiology. Dr. Pressly found interstitial pulmonary fibrotic changes in the chest.

          10.   On July 16, 2015, Mr. Wilbur W. Rumph, was again seen at the V.A. Hospital for

left shoulder pain. Dr. Castillo ordered an x ray of the left shoulder.

          11.   The radiologist, Dr. Sylvia Ford, read the film and issued a written report on July

16, 2015. Dr. Ford found an area in the shoulder suspicious for fracture. However, in the

adjacent chest, Dr. Ford noted there appeared to be a 1.6 cm perihiliar nodule in the left midlung.

Dr. Ford recommended follow up on the lung lesion with a contrast enhanced CT of the chest

unless the lesion was a known finding. Dr. Ford’s report stated that a “note was left in CPRS for

Dr. Castillo at 11:20AM on the day of the examination.” Further, Dr. Ford’s report stated “In the

absence of Dr. Castillo and RN Candi Dykes, a telephone message was given to the white team

nurse leader Bonnie Grissom at 11;15 AM on the day of the examination.”




                                                 -2-
      3:17-cv-02697-RMG              Date Filed 10/05/17   Entry Number 1       Page 3 of 8




       12.     The note was a Radiology Code 15 Provider Notification. It read, “This alert is to

notify Dr. Castillo that on this day at Jul 16, 2015 @ 11:21 Wilbur W. Rumph has imaging

finding that require additional imaging to exclude neoplasm as reported on the left shoulder x-ray

of Jul 16, 2015.”

       13.     On July 16, 2015 at or about 3:47 PM Diane T. Williams, RN relayed information

about Mr. Rumph to Dr. Castillo. Dr. Castillo spoke with Dr. Ford on the phone to clarify the

radiology findings.

       14.     On July 24, 2015, Dr. Castillo ordered a CT scan of the Thorax with contrast due

to the previous radiology study finding a left pulmonary nodule in the perihiliar portion of the

left lung. According to Dr. Richard Killingsworth, the radiologist, the CT scan revealed two

closely adjacent noncalcified pulmonary nodules within the extreme superior aspect of the left

lower lobe, located just posterolateral to the midportion of the left hilum. The larger nodule

measured 2.1 cm in diameter while the smaller nodule measured 1.2 cm. The study also revealed

two closely adjacent noncalcified pulmonary nodules at the inferolateral aspect of the right upper

lobe. The larger pulmonary nodule measured 1.2 cm in diameter while the other pulmonary

nodule measured 1.1 cm. Dr. Killingsworth’s impression was that the findings raised the

possibility of neoplastic disease.

       15.     Dr. Castillo ordered a CT scan of the abdomen and pelvis with and without

contrast on August 13, 2015, in part due to the previous July 2015 findings of two noncalcified

pulmonary nodules within each lung. No evidence suggesting a neoplasm was demonstrated.




                                                 -3-
      3:17-cv-02697-RMG          Date Filed 10/05/17      Entry Number 1       Page 4 of 8




       16.     Dr. Taundolyn D. Suber ordered a MRI of the abdomen on November 23, 2015

due to dilated intrahepatic ducts, the common bile duct, as well as multiple cysts seen on a

previous CT scan.

       17.     Dr. Suber sent Mr. Rumph a letter dated November 23, 2015 with the results of

the MRI study. The study and the letter did not address the lesions found in the lungs.

       18.     Mr. Rumph presented to the Columbia VAMC on February 10, 2016 for an

optometry consultation.

       19.     On March 21, 2016 Mr. Rumph presented to the Columbia VAMC emergency

department with complaints of chest pain. The pain was reproducible. Mr. Rumph stated he was

stretching and the pain started shortly afterwards. Mr. Rumph was seen by Dr. Jaswinder

Chauhan. Dr. Chauhan diagnosed chest wall pain.

       20.     On June 10, 2016 Mr. Rumph presented to the Columbia VAMC and was seen by

Dr. Taundolyn Suber in follow up for his chronic hepatitis C condition. His HCV treatment was

continued. Dr. Suber noted Mr. Rumph’s history of an abnormal CT scan/MRI with dilated

intrahepatic ducts and common bile duct and hepatic cysts. He was to follow up in 4 months.

       21.     Mr. Rumph presented to the Columbia VAMC emergency department on July 15,

2016 for a painful cough since June. He was seen by Shawna Heglar, a nurse practitioner.

Apparently, Nurse Heglar reviewed the July 24, 2015 CT of the Thorax showing the two

noncalcified pulmonary nodules within each lung and raising the possibility of neoplastic

disease. As a result a new chest study was performed and interpreted by Dr. Jennings G.

Pressley. It showed the lobular left perihilar mass with right central pulmonary nodule and with


                                               -4-
      3:17-cv-02697-RMG          Date Filed 10/05/17      Entry Number 1     Page 5 of 8




significant enlargement in comparison to prior studies compatible with underlying malignancy.

A stat consult was placed for biopsy and interventional radiology as well a pulmonary and

oncology consult.

       22.     On July 29, 2016 Mr. Rumph underwent a bronchoscopy and tissue was taken for

cytopathology. The biopsy was positive for lymphangitic carcinoma.

       23.     Mr. Rumph underwent a PET scan on August 8, 2016. The study revealed

bilateral hypermetabolic masses consistent with synchronous primary bronchogenic carcinomas,

bilateral adrenal metastases, scattered osseous metastases.

       24.     On or about August 12, 2016 Dr. Robert O. Palmer, oncologist, informed Mr.

Rumph that he had widespread metastatic disease which was incurable. He was to be referred to

radiation oncology for palliative treatment.

       25.     On August 18, 2016 Mr. Rumph met with Dr. Brandon Stone at South Carolina

Oncology Associates. Dr. Stone noted the diagnosis of stage IV non-small cell lung cancer with

left chest wall, bone and adrenal metastases and recommended a course of external beam

radiotherapy to relieve pain. Mr. Rumph completed the course of palliative radiotherapy from

August 29 to September 13, 2016.

       26.     On September 16, 2016 a meeting was held at the V.A. Hospital with Mr. Rumph

and his family, as well as Dr. Bernard DeKoning, Chief of Staff. Dr. DeKoning admitted there

had been a one year delay in the diagnosis of Mr. Rumph’s lung cancer.

       27.     On October 4, 2016, Mr. Rumph was brought to the V.A. Hospital emergency

department after his family noted he was breathing heavier and louder and seemed more


                                               -5-
      3:17-cv-02697-RMG           Date Filed 10/05/17      Entry Number 1       Page 6 of 8




lethargic. There was concern for aspiration pneumonia because of difficulty swallowing

secondary to radiation esophagitis. He was ultimately discharged to home hospice care.

       28.      On November 8, 2016 Mr. Rumph died of complications from his lung cancer.

       29.      Dr. Castillo and other staff of the V.A. Hospital were negligent, grossly negligent,

willful and wanton, breaching the standard of care in the following particulars:

            In failing to follow up on the July 24, 2015 CT scan of the chest which raised
             the possibility of neoplastic disease.

            In failing to consult or refer Mr. Rumph to appropriate consultants to work up
             his suspicious lung lesions and begin timely treatment.


       30.      The affidavit of Dr. Peter Pushkas, M.D., a board certified physician in internal

medicine and oncology is attached hereto, pursuant to S.C. Code Ann. § 15-36-100, and is

incorporated herein by reference. This affidavit sets forth at least one negligent act or omission

by Defendant via its employees and/or agents.

       31.      As a direct and proximate result of the negligence and gross negligence of

Defendant’s employees and/or agents, Mr. Rumph suffered injury and pain and died.

                               FOR A FIRST CAUSE OF ACTION
                                       (Survival Action)

       32.      As a result of the above described acts of Defendant, Mr. Wilbur W. Rumph was

severely injured and died. As a direct and proximate result of the incident, Mr. Wilbur W.

Rumph underwent much physical pain, suffering, mental anguish, emotional distress, and loss of

enjoyment of life before his death and incurred expenses for medical care.

                              FOR A SECOND CAUSE OF ACTION
                                   (Wrongful Death Action)




                                                -6-
      3:17-cv-02697-RMG          Date Filed 10/05/17      Entry Number 1       Page 7 of 8




       33.     As a result of the above described acts of Defendant, Plaintiff and the other

statutory beneficiaries of Mr. Wilbur W. Rumph have suffered, and will in the future suffer:

               1.     Grief;

               2.     Shock;

               3.     Sorrow;

               4.     Wounded feelings;

               5.     Loss of companionship;

               6.     Loss of the deceased's counsel on family matter;

               7.     Emotional distress;

               8.     Pecuniary loss in funeral expenses;

               9.     Loss of the deceased's financial support.

       WHEREFORE, Plaintiff prays for judgment in this matter in a sum sufficient to

adequately compensate the estate and the statutory beneficiaries for damages, for the costs of this

action, and for such other and further relief as the Court may deem just and proper.




                                               -7-
      3:17-cv-02697-RMG         Date Filed 10/05/17   Entry Number 1     Page 8 of 8




                                                  KASSEL MCVEY

                                                  s/ John D. Kassel
                                                  John Kassel
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                                                  ATTORNEYS FOR PLAINTIFFS

This 5th day of October, 2017

Columbia, South Carolina




                                            -8-
